                 Case 2:24-cv-02117-SCR Document 1 Filed 08/06/24 Page 1 of 23


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 5
 6
 7
                                            UNITED STATES DISTRICT COURT
 8                                         EASTERN DISTRICT OF CALIFORNIA
 9
      _____________________________________
10                                                )            Case Number __________
      Oscar Ramos,                                )
11                                                )
                                                  )
12                     Plaintiff,                 )
                                                  )            CIVIL RIGHTS
13    Vs.                                         )
                                                  )            COMPLAINT FOR INJUNCTIVE RELIEF
14                                                )            AND DAMAGES: DENIAL OF CIVIL
      Efphimios Pistiolas, individually and dba   )            RIGHTS OF A DISABLED PERSON, IN
15    Little Knopp’s Bakery; Stavroula Pistiolas, )            VIOLATION OF THE AMERICANS WITH
      individually and dba Little Knopp’s Bakery; )            DISABILITIES ACT OF 1990 AS
16    and Does 1 to 50 inclusive,                 )            AMENDED, AND VIOLATION OF
                                                  )            CALIFORNIA’S CIVIL RIGHTS
17                                                )            STATUTES
                           Defendants.            )
18                                                )            JURY TRIAL REQUESTED
19
20
      Plaintiff herein complains of defendants herein, and alleges as follows:
21
22                                                 JURISDICTION AND VENUE
23
      1.   This court has jurisdiction over this matter and these defendants pursuant to 28 USC § 1331
24
           for violations of the Americans with Disabilities Act of 1990 (42 USC §12101 et seq.).
25
           Pursuant to pendant jurisdiction, attendant and related causes of action, arising from the same
26
           facts, action is also bought under California law, including, but not limited to, violations of
27
           California Government Code §4450; California Health and Safety Code §19953 et seq., and
28
           applicable regulations, including but not limited to California Code of Regulations, Title 24,
     ___________________________________________________________________________________________________________


     Complaint for damages and injunctive relief
                                                         -1-
                 Case 2:24-cv-02117-SCR Document 1 Filed 08/06/24 Page 2 of 23


 1         §19959; and California Civil Code §§ 51, 51.5, 52(a), 52.1, 54, 54.1, and 54.3. Defendants
 2         Efphimios Pistiolas and Stavroula Pistiolas owns and operates a business called “Little
 3         Knopp’s Bakery” at 2627 Rockville Road, Fairfield, California in this judicial district.
 4         Defendants Efphimios Pistiolas and Stavroula Pistiolas own the real property on which this
 5         business is operated in this judicial district.
 6    2. Venue is proper in this court pursuant to 28 USC §1391(b) and is founded on the fact that the
 7         real property that is the subject of this action is located in this district, and that plaintiff’s cause

 8         of action arose in this district.

 9
                                                    INTRODUCTION
10
11
      3. Little Knopp Bakery (the “Business”) is located at 2627 Rockville Road, Fairfield, California.
12
           Said business is owned and operated by defendants Efphimios Pistiolas and Stavroula
13
           Pistiolas. The real property is owned by Efphimios Pistiolas and Stavroula Pistiolas. The
14         Business is a “public accommodation and business establishment” subject to California Health
15         and Safety Code §19953 et seq. and California Civil Code §54 et seq. On information and
16         belief, this Business has, since July 1, 1970, undergone construction and/or “alterations,
17         structural repairs, or additions,” subjecting such facility to disabled access requirements per

18         Health and Safety Code §19953 to 19959 et seq. Construction and alterations since July 1,
           1982 also subjected these facilities to the requirements of California’s Title 24, the State
19
           Building Code. Further, irrespective of alternation history, such premises are subject to the
20
           “readily achievable” barrier removal requirements of Title III of the Americans with
21
           Disabilities Act of 1990.
22
      4. Defendants Efphimios Pistiolas and Stavroula Pistiolas operate the Business, an establishment
23
           for services to the public at which business and location said defendants failed to provide
24         barrier-free access to said establishment as required under federal and California state law.
25         Further, defendants failed to provide compliance with the law as follows:
26              a. Exterior: The designated parking spaces were defective, as follows. These conditions
27                   violated the Americans With Disabilities Act (“ADA”), United States Access Board

28                   ADA Accessibility Guidelines (“ADAAG”). ADAAG §4.6.3 (1991 standards) (the
                     improper parking space dimensions), and §4.6.6 and §4.1.2(5)(b) (1991 standards) (the
     ___________________________________________________________________________________________________________


     Complaint for damages and injunctive relief
                                                     -2-
                 Case 2:24-cv-02117-SCR Document 1 Filed 08/06/24 Page 3 of 23


 1                   lack of properly painted passenger access aisle that is 96 inches wide, and a properly
 2                   painted parking space that is 18 feet long), and similarly, in violation of ADAAG

 3                   §502.3 (2010 standards). There was not a properly designated disabled-accessible
                     parking space with proper access aisle next to it on the shortest accessible route to the
 4
                     main entrance, including that there was no properly configured “van accessible” space
 5
                     on such route, in violation of ADAAG 4.6.2 (1991) (requiring proper space and proper
 6
                     access aisle on the shortest route), 4.1.2(b) (1991) (one in eight, but no less than one,
 7
                     must be “van accessible” as per ADAAG 4.6.4); also under ADAS §208, §208.3.1;
 8
                     §502 (requirement for parking space), and §502.3 (requirement for access aisle)(2010
 9                   standards). There was no signage for a parking space, in violation of ADAAG 4.6.4
10                   (1991 standards) and ADAAG 502.6 (2010 standards). These conditions also violated
11                   ADAAG 4.6.4 (1991 standards) and also violated 502.6 and 703.2.1 (2010
12                   standards)(lack of proper signage, and no parking space designated “van accessible”).

13                   These conditions were also in violation of California Building Code (“CBC”) 11B
                     208.3.1 (properly-configured parking space not on shortest accessible route); §11B-208
14
                     (insufficient or no paint to delineate the space itself or an access aisle), 11B-705.1.2.5
15
                     (lack of detectable warnings at hazardous vehicle areas), 11B-502.2 (improper vehicle
16
                     space dimensions, in that there was not a properly laid-out access aisle), 11B-502.6.4
17
                     (faded or non-existent surface identification), 11B-502.6 (properly configured “$250
18
                     fine” sign missing; properly configured “van accessible” sign missing, and other
19                   required properly-configured signage was missing); no properly-configured space
20                   designated “van accessible” (CBC 11B-208.2.4 requires one in every six spaces); and
21                   11B-502.3.3 (“no parking” was not painted in a properly-configured and designated
22                   access aisle). There was one defective disabled parking space. The paint on the asphalt

23                   was proper. There was signage. However, the signage was on a post and was posted
                     too low for drivers to see, and below the required height (80 inches). Further, the sign
24
                     to recover a towed vehicle did not have a phone number to call to recover the vehicle.
25
                     These conditions caused plaintiff difficulties in finding a safe place to park, safely exit
26
                     his vehicle, and reach the entrance safely due to cross traffic through the transit area.
27
                     This caused plaintiff legitimate concern for his own safety as he got out of his vehicle
28
                     and entered the facility. Also, because of the lack of proper and visible signage,
     ___________________________________________________________________________________________________________


     Complaint for damages and injunctive relief
                                                     -3-
                 Case 2:24-cv-02117-SCR Document 1 Filed 08/06/24 Page 4 of 23


 1                   plaintiff was concerned that another vehicle of a non-disabled person could pull in and
 2                   try to park next to him on in the space without realizing that a disabled person was in

 3                   the process of entering or exiting his vehicle, or just occupy the space.
                b. Interior: The service counter for sales was more than 36 inches high and less than 36
 4
                     inches wide, and more than 34 inches high, in violation of ADAAG 7.2(1) (1991
 5
                     standards) and 904.4 (2010 standards, and CBC 11B-904.3.2 and 11B-904.4.1. The
 6
                     service counter was too high and very narrow.
 7
                c. Interior: Some of the aisles inside the Business were too narrow and caused difficulty
 8
                     to move about, turn at the end of aisles, and shop. In some places, the aisles were less
 9                   than 36 inches wide, and also less than 44 inches wide when serving both sides, and
10                   less than 48 inches at the turns, in violation of ADAAG 4.2 and 4.3 (1991), ADAS
11                   403.5.1 (2010), and CBC 11B-403.5.1 and CBC 11B-403.5.2. This made it more
12                   difficult and laborious for plaintiff to move about and shop, as he had to be careful to

13                   avoid bumping into displayed products and knocking them to the floor. Also, he
                     observed the employee of the Business watching him with concern as he moved in the
14
                     narrow aisles. This made him feel embarrassed. Some of the aisles were so narrow that
15
                     plaintiff could not get his walker through, thus preventing him from fully shopping for
16
                     all available products and making him feel like a second-class citizen.
17
      5. The above barriers interfered with Plaintiff’s access to the facilities at the Business, and
18
           continue to deter plaintiff from visiting said facilities, and as a legal result, plaintiff has
19         suffered and suffers violations of his civil rights to full and equal enjoyment of goods,
20         services, facilities and privileges, and has suffered and will suffer embarrassment and
21         humiliation. Pursuant to Lopez v. Catalina Channel Express, Inc., 974 F.3d 1030 (9th Cir.
22         2020), plaintiff, in order to plausibly show that the cost of removing an architectural barrier

23         does not exceed the benefits under the particular circumstances, and by way of a plausible
           proposal for barrier removal, the costs of which, facially, do not clearly exceed its benefits,
24
           pleads the following: to remedy the parking space, raise the height of the signage and fill in the
25
           tow-away sign phone number; these costs generally do not cost in excess of approximately one
26
           thousand dollars ($1,000), the benefits of which will accrue to countless disabled persons over
27
           a period of years in the future. To remedy the service counter, lower it; cost $400. To remedy
28
           the aisles, shift them to widen them; cost zero. These cost estimates are based on estimates
     ___________________________________________________________________________________________________________


     Complaint for damages and injunctive relief
                                                     -4-
                 Case 2:24-cv-02117-SCR Document 1 Filed 08/06/24 Page 5 of 23


 1         given in similar ADA cases in which plaintiff has been involved, by plaintiff’s expert, a
 2         California licensed civil engineer and CASp-certified. In normal circumstances, tax deductions

 3         and tax credits are available to defendants to do this kind of work. Each case is different, and
           these numbers are only estimates.
 4
 5
                                                   FACTUAL ALLEGATIONS
 6
 7
      6. Plaintiff is, and at all times relevant to this complaint is, a “physically handicapped person,” a
 8
           “physically disabled person,” and a “person with a disability” as those terms are used under
 9         applicable California law and under applicable federal law, including, but not limited to, Title
10         III of the Americans with Disabilities Act of 1990. (The terms “physically handicapped
11         person,” a “physically disabled person,” and a “person with a disability” will be used
12         interchangeably throughout this complaint.) Plaintiff has no legs due to a catastrophic accident

13         that lead to the amputation of his legs, and he uses a wheelchair.
      7. Defendant Efphimios Pistiolas and Stavroula Pistiolas, at all times relevant herein, were and
14
           are the owners, operators, lessors, and/or lessees, franchisors and/or franchisees, of public
15
           facilities at the Business, known as Little Knopp’s Bakery, located at 2627 Rockville Road,
16
           Fairfield, California, subject to California state law requiring full and equal access to public
17
           facilities pursuant to California Health and Safety Code §19953 et seq., California Civil Code
18
           §§ 51, 51.5, 52(a), 52.1, 54, 54.1, and 54.3, and subject to Title III of the Americans with
19         Disabilities Act of 1990, and to all the other legal requirements referred to in this complaint.
20         Plaintiff does not know the relative responsibilities of the defendants in the operation of the
21         Business facilities complained of herein, and alleges a joint venture and common enterprise by
22         all such defendants.

23    8. Defendants Efphimios Pistiolas and Stavroula Pistiolas at all times relevant herein were and
           are the owners, operators, possessors, builders and keepers of the Business called Little
24
           Knopp’s Bakery in the city of Fairfield, California. Plaintiff is informed and believes that each
25
           of the defendants herein is the agent, employee, or representative of each of the other
26
           defendants, and performed acts and omissions as stated herein within the scope of such agency
27
           or employment or representative capacity and is responsible in some manner for the acts and
28
           omissions of the other defendants in legally causing the damages complained of herein, and
     ___________________________________________________________________________________________________________


     Complaint for damages and injunctive relief
                                                        -5-
                 Case 2:24-cv-02117-SCR Document 1 Filed 08/06/24 Page 6 of 23


 1         have approved or ratified each of the acts or omissions of each other defendant, as herein
 2         described.

 3    9. Plaintiff does not know the true names and capacities of defendants Does 1 to 50, their
           business capacities, their ownership connection to the property and the business, nor their
 4
           relative responsibilities or relationships among one another in causing the access violations
 5
           herein complained of, and alleges a joint venture and common enterprise among all
 6
           defendants. Plaintiff is informed and believes that each of the defendants herein is the agent,
 7
           ostensible agent, master, servant, employer, employee, representative, franchiser, franchisee,
 8
           joint venturer, partner, and associate, or such similar capacity, of each of the other defendants,
 9         and was at all times acting and performing, or failing to act or perform, with the authorization,
10         consent, permission or ratification of each of the other defendants, and is responsible in some
11         manner for the acts and omissions of the other defendants in legally causing the violations and
12         damages complained of herein, and have approved or ratified each of the acts or omissions of

13         each other defendant, as herein described. Plaintiff will seek leave to amend this Complaint
           when the true names, capacities, connections and responsibilities of defendants are
14
           ascertained.
15
      10. Plaintiff is informed and believes that all named defendants, conspired to commit the acts
16
           described herein, or alternatively aided and abetted one another in the performance of the
17
           wrongful acts hereinafter complained of.
18
      11. Defendants are the owners of the property and operators of the Business called Little Knopp’s
19         Bakery located in the city of Fairfield, California. This business, including, but not limited to,
20         access aisles and access routes, is or forms a part of a “public accommodation or facility”
21         subject to the requirements of California Health & Safety Code §19953, et seq., and of
22         California Civil Code §§51, 52(a), 54, 54.1, et seq. On information and belief, this business, or

23         portions of it, was constructed or altered after 1990, and after January 26, 1993, which fact has
           subjected the business to handicapped access requirements per California Code of Regulations
24
           Title 24 (the State Building Code).
25
      12. On or about April 12, 2024 and May 31, 2024 (the “Visit Dates”), Plaintiff visited the
26
           Business for the purpose of buying food and drink. Defendants interfered with Plaintiff’s
27
           access to the Business as set forth herein. Plaintiff was also deterred from visiting again on
28
           August 1, 2024, and he claims statutory damages for a deterred visit on this date as well.
     ___________________________________________________________________________________________________________


     Complaint for damages and injunctive relief
                                                   -6-
                 Case 2:24-cv-02117-SCR Document 1 Filed 08/06/24 Page 7 of 23


 1    13. Said acts and omissions denied Plaintiff legal handicapped access to the Business and its
 2         facilities as required under state and federal law.

 3    14. Plaintiff’s home in Fairfield, California is approximately six miles from the Business located
           in the city of Fairfield. Plaintiff lives in this city, and travels regularly to and through said city
 4
           in this area during his day-to-day life. The Business is on one of the main business
 5
           thoroughfares of this city that connects downtown Fairfield with the Suisun Valley Road
 6
           shopping area. Plaintiff plans to return to the Business when this public accommodation is
 7
           made accessible.
 8
      15. Plaintiff himself encountered the architectural barriers described herein, and/or is informed
 9         and believes that the architectural barriers described herein violate the California Code of
10         Regulations and the Americans with Disabilities Act Guidelines for Buildings and Facilities
11         (“ADAAG”) issued by the Department of Justice, and that they existed and continue to exist,
12         and thereby deny Plaintiff and others similarly situated full and equal access to the Business

13         facilities as set forth herein.
      16. Defendants, and each of them, by these barriers, discriminated against Plaintiff, on the basis of
14
           his physical disability, and interfered with his access to the Business and its facilities, in
15
           violation of California law, including but not limited to §§51, 51.5, 54, 54.1, and in violation
16
           of Title III, §302, the “Prohibition against Discrimination” provision, and §503, the
17
           “Prohibition against Retaliation and Coercion” provision of the Americans with Disabilities
18
           Act of 1990.
19    17. As a result of the actions and failure to act of defendants, and each of them, and as a result of
20         the failure to provide proper and accessible entryways, and accessible accommodations for a
21         store, Plaintiff suffered and will suffer the loss of his civil rights to full and equal access to
22         public facilities, and further has suffered in the past and will suffer in the future emotional

23         distress, mental distress, mental suffering, mental anguish, which includes shame, humiliation,
           embarrassment, anger, chagrin, disappointment and worry, expectedly and naturally associated
24
           with a person with a disability being denied access to a public accommodation, all to his
25
           damages as prayed hereinafter in an amount within the jurisdiction of this court.
26
27
           I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS WITH
28
                     DISABILITIES ACT OF 1990 (42 USC 12101 et seq.)
     ___________________________________________________________________________________________________________


     Complaint for damages and injunctive relief
                                                     -7-
                 Case 2:24-cv-02117-SCR Document 1 Filed 08/06/24 Page 8 of 23


 1
 2    18. Plaintiff repleads and incorporates by reference, as if fully set forth again herein, the

 3         allegations contained in paragraphs 1 to 17 above and incorporates them herein as if separately
           pled.
 4
      19. Pursuant to law, in 1990 the United States congress made findings per 42 USC 12101
 5
           regarding persons with physical disabilities, finding that laws were needed to more fully
 6
           protect [at that time] 43 million Americans with one or more physical or mental disabilities;
 7
           [that] historically society has tended to isolate and segregate individuals with disabilities;
 8
           [that] such forms of discrimination against individuals with disabilities continue to be a serious
 9         and pervasive social problem; [that] the nation's proper goals regarding individuals with
10         disabilities are to assure equality of opportunity, full participation, independent living and
11         economic self-sufficiency such individuals; [and that] the continuing existence of unfair and
12         unnecessary discrimination and prejudice denies people with disabilities the opportunity to

13         compete on an equal basis and to pursue those opportunities for which our free society is
           justifiably famous.
14
      20. Congress stated as its purpose in passing the Americans With Disabilities Act of 1990 (42
15
           USC 12102):
16
                a. It is the purpose of this act (1) to provide a clear and comprehensive national mandate
17
                     for the elimination of discrimination against individuals with disabilities; (2) to provide
18
                     clear, strong, consistent, enforceable standards; (3) to ensure that the Federal
19                   Government plays a central role in enforcing the standards established in this Act on
20                   behalf of individuals with disabilities; (4) to invoke the sweep of Congressional
21                   authority, including the power to enforce the 14th amendment and to regulate
22                   commerce, in order to address the major areas of discrimination faced day to day by

23                   people with disabilities.
      21. As part of the Americans with Disabilities Act of 1990, Congress approved Title III – Public
24
           Accommodations and Services Operated by Private Entities (42 USC 12181, et seq.) Among
25
           the public accommodations identified under this title were “… a bakery, grocery store,
26
           clothing store, hardware store, shopping center, or other sales or rental establishment.”
27
      22. Pursuant to 42 USC 12182,
28
     ___________________________________________________________________________________________________________


     Complaint for damages and injunctive relief
                                                     -8-
                 Case 2:24-cv-02117-SCR Document 1 Filed 08/06/24 Page 9 of 23


 1              a. “No individual shall be discriminated against on the basis of disability in the full and
 2                   equal enjoyment of the goods, services, facilities, privileges, advantages or

 3                   accommodations by any person who owns, leases, (or leases to), or operates a place of
                     public accommodation.”
 4
      23. Among the general prohibitions against discrimination were included in 42 USC
 5
           12182(b)(1)(A)(i):
 6
                a. Denial of Participation. It shall be discriminatory to subject an individual on the basis
 7
                     of a disability or disabilities of such individual or class, directly, or through
 8
                     contractual, licensing, or other arrangements, to a denial of the opportunity of the
 9                   individual or class to participate in or benefit from the goods, services, facilities,
10                   privileges, advantages, or accommodations of an entity.
11    24. Among the general prohibitions against discrimination were included in 42 USC
12         12182(b)(1)(E):

13              a. Association. It shall be discriminatory to exclude or otherwise deny equal goods,
                     services, facilities, privileges, advantages, accommodations, or other opportunities to
14
                     an individual or entity because of the known disability of an individual with whom the
15
                     individual or entity is known to have a relationship or association.
16
      25. The acts of Defendants set forth herein were a violation of Plaintiff’s rights under the ADA,
17
           and the regulations promulgated thereunder, 28 Code of Federal Regulations Part 36 et seq.
18
      26. Among the general prohibits against discrimination were included in 42 USC
19         12182(b)(2)(A)(i) and (ii):
20              a. Discrimination. For purposes of subsection (a), discrimination includes:
21                        i. the imposition or application of eligibility criteria that screen out or tend to
22                             screen out an individual with a disability or any class of individuals with
23                             disabilities from fully and equally enjoying any goods, services, facilities,
24                             privileges, advantages, or accommodations, unless such criteria can be shown
25                             to be necessary for the provision of the goods, services, facilities, privileges,
26                             advantages, or accommodations being offered;
27                        ii. a failure to make reasonable modifications in policies, practices, or procedures,
28                             when such modifications are necessary to afford such goods, services, facilities,
     ___________________________________________________________________________________________________________


     Complaint for damages and injunctive relief
                                                        -9-
                Case 2:24-cv-02117-SCR Document 1 Filed 08/06/24 Page 10 of 23


 1                             privileges, advantages, or accommodations to individuals with disabilities,
 2                             unless the entity can demonstrate that making such modifications would
 3                             fundamentally alter the nature of such goods, services, facilities, privileges,
 4                             advantages, or accommodations.
 5    27. Plaintiff alleges that the facilities, policies, practices and procedure for entry to the Business
 6         facility by persons with disabilities and their companions as established and set up by the
 7         Defendants can be simply modified to eliminate disparate and discriminatory treatment of
 8         persons with disabilities by properly constructing barrier-free handicapped access so as to
 9         provide safe, full and equal enjoyment of the Business facilities as is enjoyed by other, non-
10         disabled, people.
11    28. The specific prohibition against retaliation and coercion is included in the Americans with
12         Disabilities Act of 1990 §503(b) and the Remedies and Procedures in §503(c):

13              a. Section 503(b) Interference, Coercion, or Intimidation. - It shall be unlawful to coerce,

14                   intimidate, threaten, or interfere with any individual in the exercise or enjoyment of, or

15                   on account of his or her having exercised or enjoyed, or on account of his or her having

16                   aided or encouraged any other individual in the exercise or enjoyment of, any right

17                   granted or protected by this Act.

18              b. Section 503(c) Remedies and Procedure. - The remedies and procedures available

19                   under sections 107, 203, and 308 of this Act shall be available to aggrieved persons for

20                   violations of subsections (a) and (b), with respect to Title I, Title II and Title Ill,

21                   respectively.

22    29. Among the specific prohibitions against discrimination were included, in 42 USC

23         §12182(b)(2)(a)(iv), "A failure to remove architectural barriers, and communications barriers

24         that are structural in nature, in existing facilities ... where such removal is 3dily achievable and

25         (v) "where and entity can demonstrate that the removal of a barrier under clause (iv) is not

26         readily achievable, a failure to make such goods, services, facilities, privileges, advantages, or

27         accommodations available through such methods are readily achievable." The acts of

28         Defendants set forth herein violated Plaintiffs rights under the "ADA," 42 USC 12181 et seq.,
          and the regulations promulgated thereunder, 28 CFA Part 36, et seq.
     ___________________________________________________________________________________________________________


     Complaint for damages and injunctive relief
                                                       -10-
                Case 2:24-cv-02117-SCR Document 1 Filed 08/06/24 Page 11 of 23


 1    30. The removal of the barriers complained of by Plaintiff as hereinabove alleged were at all times
 2         after 1990 "readily achievable.” On information and belief, if the removal of all the barriers
 3         complained of here together were not removable, the removal of each individual barrier
 4         complained of herein was "readily achievable."
 5    31. Per 42 USC §12181(9), “The term ‘readily-achievable’ means easily accomplishable and able
 6         to be carried out. The statute and attendant regulations define relative ‘expense’ in relation to
 7         the total financial resources of the entities involved, including any ‘parent’ companies.
 8         Plaintiff alleges that properly repairing each of the items that Plaintiff complains of herein is
 9         readily achievable, including, but not limited to, correcting and repairing the items set forth in
10         the Paragraphs above. The changes needed to remove barriers to access for the disabled were
11         and are readily achievable by the defendants under standards set forth under 42 USC §I2181 of
12         the Americans with Disabilities Act of 1990. (Further, if it were not "readily achievable" for
13         defendants to remove all such barriers, defendants have failed to make the required services
14         available through alternative methods, although such methods are achievable as required by 42
15         USC §12181(b)(2)(a)(iv)(, v).)
16    32. Pursuant to the Americans with Disabilities Act of 1990, §308 (42 USC §12188 et seq.),
17         Plaintiff is entitled to the remedies and procedures set forth in the Civil Rights Act of 1964
18         §204(a), (42 USC §2000a-3(a)), as Plaintiff is being subjected to discrimination on the basis of
19         disability in violation of this title andlor Plaintiff has reasonable grounds for believing that he
20         is about to be subjected to discrimination in violation of the Americans with Disabilities Act of
21         1990, §302. Plaintiff cannot return to or make use of the subject Business’ public facilities
22         complained of herein for the purpose of entry and provision of goods and service so long as
23         Defendants continue to apply eligibility criteria, policies, practices that screen out and refuse
24         to allow entry and service to persons with disabilities such as Plaintiff's.
25    33. Each of Defendants’ acts and omissions of failing to provide barrier-free handicapped access
26         for Plaintiff, were tantamount to interference, intimidation, and coercion pursuant to the
27         Americans with Disabilities Act of 1990 §503(b) (now 42 USC §12203): “It shall be unlawful
28         to coerce, intimidate, threaten, or interfere with any individual in the exercise or enjoyment of,
     ___________________________________________________________________________________________________________


     Complaint for damages and injunctive relief
                                                   -11-
                Case 2:24-cv-02117-SCR Document 1 Filed 08/06/24 Page 12 of 23


 1         or on account of his or her having aided or encouraged any other individual in the exercise or
 2         enjoyment of, any right granted or protected by this Act.”
 3    34. Pursuant to the Americans with Disabilities Act of 1990 §308(a)(1) (now 42 USC §12188),
 4         “Nothing in this section shall require a person with a disability to engage in a futile gesture if
 5         such person has actual notice that a person or organization covered by this title does not intend
 6         to comply with its provisions." Pursuant to this last section, Plaintiff, on information and
 7         belief, alleges that defendants have continued to violate the law and deny the rights of Plaintiff
 8         and other disabled persons to access this public accommodation for the purpose of dining.
 9         Therefore, Plaintiff seeks injunctive relief pursuant to §308(a)(2) “...Where appropriate,
10         injunctive relief shall also include requiring the provision of an auxiliary aid or service,
11         modifications of a policy, or provision of alternative methods, to the extent required by this
12         title.”
13    35. Plaintiff seeks relief pursuant to remedies set forth in §204(a) of the Civil Rights Act of 1964
14         (42 USC §2000a-3(a)), and pursuant to federal regulations adopted to implement the
15         Americans with Disabilities Act of 1990, including, but not limited to, an order granting
16         injunctive relief and attorneys’ fees. Such attorneys' fees, “including litigation expenses and
17         costs,” are further specifically provided for by §505 of Title Ill.
18         WHEREFORE, Plaintiff prays for damages as hereinafter stated.
19
20         II. SECOND CAUSE OF ACTION: BREACH OF STATUTORY PROTECTIONS FOR
21                   PERSONS WITH PHYSICAL DISABILITIES (California Health and Safety Code
22                   §19955 et seq.)
23
24    36. Plaintiff repleads and incorporates by reference, as if fully set forth again herein, the
25         allegations contained in paragraphs 1 to 35 above and incorporates them herein as if separately
26         pled.
27    37. California Health & Safety Code §19955 provides in pertinent part: “The purpose of this part
28         is to insure that public accommodations or facilities constructed in this state with private funds
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     Complaint for damages and injunctive relief
                                                   -12-
                Case 2:24-cv-02117-SCR Document 1 Filed 08/06/24 Page 13 of 23


 1         adhere to the provisions of Chapter 7 (commencing with Sec. 4450) of Division 5 of Tile 1 of
 2         the Government Code. For the purposes of this part "public accommodation or facilities"
 3         means a building, structure, facility, complex, or improved area which is used by the general
 4         public, and shall include auditoriums, hospitals, theaters, hotels, motels, stadiums, and
 5         convention centers. When sanitary facilities are made available for the public, clients or
 6         employees in such accommodations or facilities, they shall be made available for the
 7         handicapped.
 8    38. California Health & Safety Code §19956, which appears in the same chapter as §19955,
 9         provides in pertinent part, "accommodations constructed in this state shall conform to the
10         provisions of Chapter 7 (commencing with Section 4450) of Division 5 of Title 1 of the
11         Government Code.. .” California Health and Safety Code §19956 was operative July 1, 1970,
12         and is applicable to all public accommodations constructed or altered after that date. On
13         information and belief, portions of the subject Business building and facilities were
14         constructed and/or altered after July 1, 1970, and substantial portions of said building and
15         facilities had alterations, structural repairs, and/or additions made to such public
16         accommodation after July 1, 1970, thereby requiring said public accommodations and/or
17         buildings to be subject to the requirements of Part 5.5, California Health Safety Code §19955,
18         et seq., upon such alteration, structural repairs or additions per California Health and Safety
19         Code §19955.
20    39. Pursuant to authority delegated by the California Government Code, the State Architect
21         promulgated regulations for the enforcement of these Code provisions. Effective January 1,
22         1988, Title 24 of the California Administrative Code adopted the California State Architect’s
23         Regulations, and these regulations must be complied with as to any alterations and/or
24         modifications of the Business’ facilities after that date. Construction changes occurring prior
25         to this date but after July 1, 1970, triggered access requirements pursuant to the "ASA"
26         requirements, the American Standards Association Specifications, A117.1 -1961. On
27         information and belief, at the time of the construction modification and of the Business’
28         building and facilities, all buildings and facilities covered were required to conform to each of
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     Complaint for damages and injunctive relief
                                                   -13-
                Case 2:24-cv-02117-SCR Document 1 Filed 08/06/24 Page 14 of 23


 1         the standards and specifications described in the American Standards Association
 2         Specifications and/or those contained in Title 24 of the California Administrative Code (now
 3         known as Title 24, California Code of Regulations.)
 4    40. Public facilities such as the subject Business are public accommodations or facilities within
 5         the meaning of California Health and Safety Code §19955.
 6    41. It is difficult or impossible for persons with physical disabilities who use wheelchairs, canes,
 7         walkers and service animals to travel about in public to use a store with the defects set forth
 8         above as required by Title 24 of the California Code of Regulations and the Americans with
 9         Disabilities Act Access Guidelines (ADAAG). Thus, when public accommodations fail to
10         provide handicap accessible public facilities, persons with disabilities are unable to enter and
11         use said facilities, and are denied full and equal access to and use of that facility that is
12         enjoyed by other members of the general public.
13    42. Plaintiff, and other similarly situated persons with physical disabilities whose physical
14         conditions require the use of wheelchairs, canes, walkers and service animals, are unable to
15         use public facilities on a “full and equal” basis unless each such facility is in compliance with
16         the provisions of the California Health & Safety Code §19955, et seq. Plaintiff is a member of
17         that portion of the public whose rights are protected by the provisions of California Health &
18         Safety Code §19955, et seq.
19    43. The California Health and Safety Code was enacted to “ensure that public accommodations
20         and facilities constructed in this state with private funds adhere to the provisions of Chapter 7
21         (commencing with §4450) of Division 5 of Title 1 of the Government Code.” Such “public
22         accommodations” are defined to include stores like this one.
23    44. Plaintiff is further informed and believes that as of the date of filing this complaint,
24         Defendants have not made accessible the facilities at the Business as set forth above.
25    45. Plaintiff, is informed and believes, and therefore alleges, that Defendants, and each of them,
26         caused the subject buildings and facilities constituting the Business to be constructed, altered
27         and maintained in such a manner that persons with physical disabilities were denied full and
28         equal access to, within and throughout said buildings and were denied full and equal use of
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     Complaint for damages and injunctive relief
                                                    -14-
                Case 2:24-cv-02117-SCR Document 1 Filed 08/06/24 Page 15 of 23


 1         said public facilities, and despite knowledge and actual and constructive notice to such
 2         Defendants that the configuration of the store, and/or buildings was in violation of the civil
 3         rights of persons with physical disabilities, such as Plaintiff. Such construction, modification,
 4         ownership, operation, maintenance and practices of such public facilities are in violation of
 5         law as stated in Part 5.5, California Health & Safety Code §19955, et seq., and elsewhere in
 6         the laws of California.
 7    46. On information and belief, the subject building constituting the public facilities of the Business
 8         have denied full and equal access to Plaintiff and other persons with physical disabilities in
 9         other respects due to non-compliance with requirements of Title 24 of the California Code of
10         Regulations and the California Health & Safety Code §19955, el seq.
11    47. The basis of Plaintiff's aforementioned information and belief is the various means upon which
12         Defendants must have acquired such knowledge, including, but not limited to, this lawsuit,
13         other access lawsuits, communications with operators of other stores, and other property
14         owners regarding denial access, communications with Plaintiff and other persons with
15         disabilities, communications with other patrons who regularly visit there, communications
16         with owners of other businesses, notices and advisories they obtained from governmental
17         agencies through the mails, at seminars, posted bulletins, television, radio, public service
18         announcements, or upon modification, improvement, alteration or substantial repair of the
19         subject premises and other properties owned by these Defendants, newspaper articles and trade
20         publications regarding the Americans with Disabilities Act of 1990, and other access law, and
21         other similar information. The scope and means of the knowledge of each defendant is within
22         each defendant’s exclusive control and cannot be ascertained except through discovery.
23    48. As a result of Defendants' acts and omissions in this regard, Plaintiff has been required to incur
24         legal expenses and hire attorneys in order to enforce his civil rights and enforce provisions of
25         the law protecting access for persons with physical disabilities and prohibiting discrimination
26         against persons with physical disabilities, and to take such action both in his own interests and
27         in order to enforce an important right affecting the public interest. Plaintiff, therefore, seeks
28         damages in this lawsuit for recovery of all reasonable attorneys' fees incurred, pursuant to the
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     Complaint for damages and injunctive relief
                                                   -15-
                Case 2:24-cv-02117-SCR Document 1 Filed 08/06/24 Page 16 of 23


 1         provisions of the California Code of Civil Procedure §l021.5. Plaintiff additionally seeks
 2         attorneys' fees pursuant to California Health & Safety Code §I9953 and California Civil Code
 3         §§54.3.
 4    49. Defendants, and each of them, at times prior to and including the Visit Dates, and continuing
 5         to the present time, knew or should have known that persons with physical disabilities were
 6         denied their rights of equal access to all portions of this public facility. Despite such
 7         knowledge, or negligence with respect to such knowledge, Defendants failed and refused to
 8         take steps to comply with the applicable handicapped access statutes; and despite knowledge
 9         of the resulting problems and denial of civil rights thereby suffered by Plaintiff and other
10         similarly situated persons with disabilities, including the specific notices referred to in this
11         Complaint. Defendants have failed and continue to fail to take action to grant full and equal
12         access to persons with physical disabilities in the respects complained of hereinabove.
13         Defendants and each of them have carried out a course of conduct of refusing to respond to, or
14         correct complaints about, denial of handicap access, or have been negligent in their obligations
15         under the law.
16    50. Defendants' actions have also been oppressive to persons with physical disabilities and to other
17         members of the public, and have evidenced actual or implied malicious intent towards those
18         members of the public, such as Plaintiff and other persons with physical disabilities who have
19         been denied the proper access they are entitled to by law. Further, Defendants’ refusals on a
20         day-to-day basis to correct these problems evidences despicable conduct in conscious
21         disregard for the rights of Plaintiff and other members of the public with physical disabilities.
22    51. As a result of the actions and failure of Defendants, and each of them, and as a result of the
23         failure to provide proper accessible public facilities, Plaintiff was denied his civil rights,
24         including his right to full and equal access to public facilities, was embarrassed and
25         humiliated, suffered psychological and mental injuries and emotional distress, mental distress,
26         mental suffering, mental anguish, which includes shame, humiliation, embarrassment, anger,
27         chagrin, disappointment and worry, naturally associated with a person with a physical
28         disability being denied access to a public accommodation.
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     Complaint for damages and injunctive relief
                                                   -16-
                  Case 2:24-cv-02117-SCR Document 1 Filed 08/06/24 Page 17 of 23


 1         WHEREFORE, Plaintiff prays for damages as hereinafter stated.
 2
 3         III.      THIRD CAUSE OF ACTION: VIOLATION OF CALIFORNIA’S CIVIL RIGHTS
 4                   ACTS (California Civil Code §§54, 54.1 and 54.3)
 5
 6    52. Plaintiff repleads and incorporates by reference, as if fully set forth again herein, the
 7         allegations contained in paragraphs 1 to 51 above and incorporates them herein as if separately
 8         pled.
 9    53. The public facilities above-described constitute public facilities and public accommodations
10         within the meaning of California Health and Safety Code §19955 et seq. and are facilities to
11         which members of the public are invited. The aforementioned acts and omissions of
12         defendants, and each of them, constitute a denial of equal access to and use and enjoyment of
13         these facilities by persons with disabilities, including Plaintiff. Said acts and omissions are
14         also in violation of the provisions of Title 24 of the California Code of Regulations.
15    54. The rights of Plaintiff, the entitlement of Plaintiff to full and equal access, and the denial by
16         defendants of such rights and entitlements are set forth in California Civil Code §§54, 54.1 and
17         54.3, to wit:
18                a. Individuals with disabilities shall have the same right as the ...general public to full and
19                   free use of the streets, highways, sidewalks, walkways, public buildings, public
20                   facilities, and other public places. (California Civil Code §54(a).)
21                b. Individuals with disabilities shall be entitled to full and equal access, as other members
22                   of the general public, to accommodations, advantages, facilities, and privileges of all
23                   common carriers, airplanes, motor vehicles, railroad trains, motor buses, streetcars,
24                   boats, or any other public conveyances or modes of transportation (whether private,
25                   public, franchised, licensed, contracted, or otherwise provided), telephone facilities,
26                   adoption agencies, private schools, hotels, lodging places, places of public
27                   accommodation, amusement or resort, and other places to which the general public is
28
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     Complaint for damages and injunctive relief
                                                      -17-
                Case 2:24-cv-02117-SCR Document 1 Filed 08/06/24 Page 18 of 23


 1                   invited, subject only to the conditions and limitations established by law, or state or
 2                   federal regulation, and applicable alike to all persons. (California Civil Code §54.1(a).)
 3    55. On or about the Visit Dates, Plaintiff suffered violations of California Civil Code §§54 and
 4         54.1 in that he was denied full and equal enjoyment of the goods, services, facilities and
 5         privileges of the Business as set forth in herein above. Plaintiff was also denied full and equal
 6         access to other particulars, including, but not limited to, those described herein above. Plaintiff
 7         was also denied use of facilities that he was entitled to under Title Ill of the Americans with
 8         Disabilities Act of 1990.
 9    56. As a result of the denial of full and equal enjoyment of the goods, services, facilities and
10         privileges of Defendants’ Business due to the acts and omissions of Defendants, and each of
11         them, in owning, operating and maintaining this subject Business as a public facility, Plaintiff
12         has suffered a violation of his civil rights, including, but not limited to, rights under California
13         Civil Code §§54, 54.1, and 54.3, and has suffered and will suffer an injury-in-fact in the form
14         of emotional distress, mental distress, mental suffering, mental anguish, which includes shame,
15         humiliation, embarrassment, anger, chagrin, disappointment and worry, expectedly and
16         naturally associated with a disabled person's denial of full and equal enjoyment of goods,
17         services, and privileges, all to his damages as prayed hereinafter in an amount within the
18         jurisdiction of this court. Defendants' actions and omissions to act constituted discrimination
19         against Plaintiff on the sole basis that Plaintiff is disabled.
20    57. Plaintiff seeks statutory damages for the violation of his rights as a disabled person that
21         occurred on or about the Visit Dates, according to proof, pursuant to California Civil Code
22         §54.3.
23    58. As a result of Defendants' acts and omissions in this regard, Plaintiff has been required to incur
24         legal expenses and hire attorneys in order to enforce his rights and enforce provisions of the
25         law protecting the full and equal enjoyment of goods, services, facilities, privileges of public
26         facilities by the disabled, and those individuals associated with or accompanied by a person
27         with disabilities, and prohibiting discrimination against the disabled. Plaintiff, therefore, seeks
28         recovery in this lawsuit for all reasonable attorneys' fees incurred pursuant to the provisions of
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     Complaint for damages and injunctive relief
                                                     -18-
                Case 2:24-cv-02117-SCR Document 1 Filed 08/06/24 Page 19 of 23


 1         California Civil Code §51, 52, and 54. (California Civil Code §55 is specifically not invoked.)
 2         Additionally, Plaintiff's lawsuit is intended not only to obtain compensation for damages to
 3         Plaintiff, but also to compel the Defendants to make their goods, services, facilities and
 4         privileges available and accessible to all members of the public with physical disabilities,
 5         justifying public interest attorneys' fees pursuant to the provisions of California Code of Civil
 6         Procedure §1021.5.
 7    59. The acts and omissions of Defendants in failing to provide the required accessible facilities
 8         subsequent to the enactment date and compliance date of the Americans with Disabilities Act
 9         of 1990 and refusal to make remedial alterations to their facilities and other elements as
10         hereinabove stated, after being notified by patrons before and after the time of Plaintiff’s visit
11         and injuries, on or about the Visit Dates, and all times prior thereto, with the knowledge that
12         persons with disabilities would enter Defendants’ premises, the reason given therefor, was an
13         established policy, practice, and procedure of refusing and denying entry and/or use of
14         facilities, thereby denying services to a person with disabilities and the companions thereor,
15         evidence malice and oppression toward Plaintiff and other disabled persons.
16    60. Plaintiff seeks injunctive relief pursuant to California Civil Code §54 and Health and Safety
17         Code §19953 et seq. to require Defendants to comply with federal and state access regulations.
18    61. Defendants have failed to establish a non-discriminatory criteria, policy, practice and
19         procedure for entry into said Business as hereinabove described.
20    62. As a result of defendants’ continuing failure to provide for the full and equal enjoyment of
21         goods, services, facilities and privileges of said Business as hereinabove described, Plaintiff
22         has continually been denied his full and equal enjoyment of the subject store facilities at the
23         Business, as it would be a “futile gesture to attempt to patronize” said Business with the
24         discriminatory policy in place as hereinabove described.
25    63. The acts and omissions of Defendants as complained of herein in failing to provide the
26         required accessible facilities subsequent to the enactment date and compliance date of the
27         Americans with Disabilities Act of 1990 and refusal to make remedial modifications and
28         alterations to the architectural barriers as stated herein and in failing to establish practices,
     ___________________________________________________________________________________________________________


     Complaint for damages and injunctive relief
                                                    -19-
                 Case 2:24-cv-02117-SCR Document 1 Filed 08/06/24 Page 20 of 23


 1         policies and procedures to allow safe access by persons who are disabled are continuing on a
 2         day-to-day basis to have the effect of wrongfully and willfully excluding Plaintiff and other
 3         members of the public who are disabled from full and equal enjoyment of the subject Business
 4         as hereinabove described. Such acts and omissions are the continuing cause of humiliation and
 5         mental and emotional suffering of Plaintiff in that these actions continue to treat Plaintiff as an
 6         inferior and second class citizen and serve to discriminate against him on the sole basis that he
 7         is disabled. Plaintiff is unable so long as such acts and omissions of defendants continue, to
 8         achieve full and equal enjoyment of the goods and services of said Business as described
 9         hereinabove. The acts of Defendants have legally caused and will continue to cause irreparable
10         injury to Plaintiff if not enjoined by this court.
11    64. Wherefore, Plaintiff asks this court to preliminarily and permanently any continuing refusal by
12         Defendants to permit entry to said Business and to serve Plaintiff or others similarly situated,
13         and to require Defendants to comply forthwith with the applicable statutory requirements
14         relating to the full and equal enjoyment of goods and services as described hereinabove for
15         disabled persons. Plaintiff further requests that the court award statutory costs and attorneys'
16         fees to Plaintiff pursuant to California Code of Civil Procedure §I021.5, all as hereinafter
17         prayed for.
18
19   WHEREFORE, Plaintiff prays for statutory damages, reasonable attorneys' fees and costs of suit, as
20   allowed by statute and according to proof.
21
22         IV.       FOURTH CAUSE OF ACTION: VIOLATION OF CALIFORNIA UNRUH CIVIL
23                   RIGHTS ACT (California Civil Code §51 and §51.5.)
24
25    65. Plaintiff repleads and incorporates by reference, as if fully set forth again herein, the
26         allegations contained in paragraphs 1 to 64 above and incorporates them herein as if separately
27         pled.
28
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     Complaint for damages and injunctive relief
                                                    -20-
                Case 2:24-cv-02117-SCR Document 1 Filed 08/06/24 Page 21 of 23


 1    66. Defendant’ acts and omissions as specified with regard to the discriminatory treatment of
 2         Plaintiff, on the basis of his disabilities, have been in violation of California Civil Code §§51
 3         and 51.5, the Unruh Civil Rights Act, and have denied to Plaintiff his rights to “full and equal
 4         accommodations, advantages, facilities, privileges or services in all business establishments of
 5         every kind whatsoever.”
 6    67. California Civil Code §51 also provides that “[a] violation of the right of any individual under
 7         the Americans with Disabilities Act of 1990 (Public Law 101-336) shall also constitute a
 8         violation of this section.”
 9    68. California Civil Code §51.5 also provides that “[no business establishment of any kind
10         whatsoever shall discriminate against, boycott, or blacklist, refuse to buy from, sell to, or trade
11         with any person in this state because of the race, creed, religion, color, national origin, sex,
12         disability of the person or of the person's partners, members, stockholders, directors, officers,
13         managers, superintendents, agents, employees, business associates, suppliers, or customers.”
14    69. As a result of the violation of Plaintiffs civil rights protected by California Civil Code §§51
15         and 51.5, Plaintiff is entitled to the rights and remedies of California Civil Code §52,
16         consisting of statutory damages, as well as reasonable attorneys' fees and costs, as allowed by
17         statute, according to proof. California Civil Code §55 is specifically not invoked by plaintiff.
18    70. Pursuant to California Code of Civil Procedure §425.50: (a) this complaint is NOT filed on
19         behalf of a high-frequency litigant, as defined; (b) 25; (c) shopping and dining in the Fairfield,
20         CA area; (d) to buy food and drink items from this business.
21    71. WHEREFORE, Plaintiff prays that this court award statutory damages and provide relief as
22         follows:
23
24                                                 PRAYER FOR RELIEF
25   Plaintiff prays that this court award statutory damages and provide relief as follows:
26
27       1. Grant injunctive relief requiring that Defendants establish a nondiscriminatory
28   criteria policy, practice and procedure permitting entry into the subject Business in
     ___________________________________________________________________________________________________________


     Complaint for damages and injunctive relief
                                                      -21-
                  Case 2:24-cv-02117-SCR Document 1 Filed 08/06/24 Page 22 of 23


 1   the City of Fairfield, California, for the purpose of obtaining the goods and services accorded
 2   therein according to California Civil Code §§51, 51.5, 52, 54, 54.1, and 54.3, California Health and
 3   Safety Code §19953 et seq., and Title Ill of the Americans with Disabilities Act of 1990, and grant
 4   injunctive relief requiring that Defendants repair and render safe to disabled persons, and otherwise
 5   make accessible, all public areas of the Business’ business, including, but not limited to, each of the
 6   barriers to access identified above, and make such facilities “readily accessible to and usable” by
 7   individuals with disabilities according to the standards of Title 24 of the California Administrative
 8   Code, California Health & Safety Code §19955 et seq., and Title Ill of the Americans with
 9   Disabilities Act of 1990 and the standards of ADAAG; and prohibiting operation of the Business
10   located in the City of Fairfield, California, as a public facility until Defendants provide full and
11   equal enjoyment of goods and services as described hereinabove to disabled persons, including
12   Plaintiff.
13       2. Statutory damages, according to proof, pursuant to California Civil Code §52, and statutory
14            damages, according to proof, pursuant to California Civil Code §54.3. Plaintiff
15            acknowledges that statutory damages cannot be claimed under both the Unruh Act and the
16            California Disabled Persons Act; he will make an election before or at trial in this respect.
17       3. Prejudgment interest on all damages to the extent permitted by law;
18       4. Remedies and Procedures available under Americans with Disabilities Act of 1990,
19            including but not limited to §§I 07,203 and 308.
20       5. Award Plaintiff all litigation expenses, all costs of this proceeding and a reasonable
21            attorneys’ fees as provided by law, including, but not limited to, those recoverable pursuant
22            to the provisions of California Civil Code §§52 and 54.3, California Code of Civil
23            Procedure §1021.5, and Americans with Disabilities Act of 1990 5308 of Title Ill; and
24       6. Grant such other and further relief as the court may deem just and proper.
25
26   /s/ Richard A. Mac Bride
27   Richard A. Mac Bride, Attorney for Plaintiff
28   Date: August 6, 2024
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     Complaint for damages and injunctive relief
                                                   -22-
                Case 2:24-cv-02117-SCR Document 1 Filed 08/06/24 Page 23 of 23


 1
 2                                                 REQUEST FOR JURY TRIAL
 3
 4   Plaintiff hereby requests a jury for all claims for which a jury is permitted.
 5   /s/ Richard A. Mac Bride
 6   Richard A. Mac Bride, Attorney for Plaintiff
 7   Date: August 6, 2024
 8
 9
10                                                     VERIFICATION
11   I, Oscar Ramos, plaintiff herein, hereby swear under penalty of perjury under the laws of the State
12   of California as follows: I am familiar with the contents of this complaint and verify that the facts
13   alleged are true and correct according to my personal knowledge, except as to those matters that are
14   pled on information and belief, and as to those matters, I have reason to believe that they are true.
15
16   /s/ Oscar Ramos
17   Oscar Ramos
18   Date: August 6, 2024
19
20
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28
     ___________________________________________________________________________________________________________


     Complaint for damages and injunctive relief
                                                         -23-
